     Case: 1:20-cv-01045 Document #: 30 Filed: 06/24/20 Page 1 of 1 PageID #:617

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

John A. Scatchell
                                       Plaintiff,
v.                                                        Case No.: 1:20−cv−01045
                                                          Honorable Gary Feinerman
Villlage of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 24, 2020:


         MINUTE entry before the Honorable Gary Feinerman:elephonic hearing
scheduled for 7/6/2020 at 9:00 a.m. Members of the public and media will be able to call
in to listen to this hearing. The call−in number is 877−336−1828 and the access code is
4082461. Counsel of record will receive an email prior to the start of the telephonic
hearing with instructions to join the call. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court.Mailed
notice.(jlj, )




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